446 F.2d 886
    Carl E. HUBER and Oscar N. Gore, Plaintiffs-Appellants,v.STATE BOARD OF BAR EXAMINERS OF GEORGIA et al., Defendants-Appellees.
    No. 71-1479 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    August 17, 1971.
    Rehearing Denied September 24, 1971.
    
      Appeals from United States District Court, Northern District of Georgia; Albert J. Henderson, Jr., District Judge.
      Carl E. Huber, pro se.
      Oscar N. Gore, pro se.
      Arthur K. Bolton, Atty. Gen., State of Georgia, John W. Hinchey, Asst. Atty. Gen., Harold N. Hill, Jr., Executive Asst. Atty. Gen., Robert J. Castellani, Asst. Atty. Gen., William G. Sherrer, U. S. Atty., Atlanta, Ga., for defendants-appellees.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1,2
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.;see Isbell Enterprises, Inc. v. Citizens Casualty Co. of N.Y. et al., 431 F.2d 409, Part I (5th Cir. 1970).
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970).
      
      
        2
         See Dacey v. Florida Bar, Inc., 414 F. 2d 195 (5th Cir. 1969); Smith v. State Board of Bar Examiners of Georgia and Defee v. Ravan, 447 F.2d 1312 (5th Cir. 1971)
      
    
    